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                 IN THE UNTIED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION

MORKITER JONES                                                                       PLAINTIFF

VS.                                                        CAUSE NO.: 1:18cv193-MPM-DAS

JARED BOOTH;
CITY OF COLUMBUS, MISSISSIPPI,
PARTICULARLY COLUMBUS POLICE
DEPARTMENT; and,
UNKNOWN DEFENDANTS A-Z                                                          DEFENDANT(S)


               AGREED ORDER FOR ADDITIONAL TIME TO ANSWER
             DEFENDANT’S, CITY OF COLUMBUS, MOTION TO DISMISS


        This day this cause came on Plaintiff’s Motion for Additional Time to Answer

Defendant’s Motion to Dismiss and the Court having considered said Motion, finds as follows:

        Plaintiff was allowed for the first time to view police body camera videographic evidence

of the subject shooting on April 5, 2019. This new evidence factors into Plaintiff’s consideration

of the existing cause of action and the response to the pending Motion to Dismiss. Plaintiff

respectfully requests an additional fourteen (14) days to respond to the pending Motion to

Dismiss. Counsel opposite does not object to said extension.

        The Court having found the motion well taken, grants an additional fourteen (14) days for

Plaintiff to file her response to Defendant’s pending Motion to Dismiss.

        IT IS ORDERED, that the deadline for Plaintiff’s response to Defendant’s Motion to




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Dismiss is hereby extended until Friday, April 19, 2019.

        SO ORDERED, this the 8th day of April, 2019.


                                            /s/ MICHAEL P. MILLS
                                            UNITED STATES DISTRICT JUDGE
                                            NORTHERN DISTRICT OF MISSISSIPPI



Agreed to by:

/s/ Brad Morris
Brad Morris, Esq.
BRAD MORRIS LAW FIRM, PLLC
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 /s/ Jeff Turnage
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Attorney for Defendant, City of Columbus




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